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                                                                                  2021 Oct-01 AM 08:58
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

NUCLEAR DEVELOPMENT, LLC,   §
                            §
    Plaintiff,              §
                            § CIVIL ACTION CASE NUMBER:
vs.                         §
                            §      5:18-CV-01983-LCB
                            §
TENNESSEE VALLEY AUTHORITY, §
                            §
    Defendant.              §

               PLAINTIFF’S RESPONSE TO DEFENDANT’S
                    MOTION TO ALTER OR AMEND
           FINAL JUDGMENT AND FOR ADDITIONAL FINDINGS

      Plaintiff Nuclear Development, LLC (“ND”) responds to Defendant’s Motion

to Alter or Amend Final Judgment and for Additional Findings (Doc. 254) as

follows:

      1.     In awarding ND prejudgment interest at the rate of 7.5 percent per

annum, the Court did not cite authority, but ND assumes the Court awarded such

rate as it has the discretion to do by applying federal common law in a case involving

federal question jurisdiction, as we have here. ATM Exp., Inc. v. Montgomery,

Ala.¸516 F. Supp. 2d 1242, 1252 (M.D. Ala. 2007) (“In federal question cases,

prejudgment interest is committed to the discretion of the district court”); see also

Osterneck v. E.T. Barwick Indus., Inc., 825 F.2d 1521, 1536 (11th Cir. 1987) (citing

Wolf v. Frank, 477 F.2d 467, 479 (5th Cir. 1973) (affirming the Court’s discretion
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to award prejudgment interest as a matter of fairness when sitting in federal question

jurisdiction).

       2.        TVA’s cases are distinguishable. Coast Fed. Bank, FSB has nothing to

do with an award of prejudgment interest. Merrill Stevens Dry Dock involved a right

to prejudgment interest under a contract that was ongoing and continued in effect

after an alleged breach. Walker was a diversity jurisdiction breach of contract case

where the jury found the contract was breached and there was no apparent dispute

about the rate of prejudgment interest.

       3.        TVA takes the position that Section 33 of the Purchase and Sales

Agreement requires that both prejudgment and post-judgment interest should be at

the rate of 6 percent per annum. TVA also takes the position that it did not breach

the Agreement, which ND disputes and contends that TVA did, in fact, breach the

Agreement in numerous respects. (See, e.g., Docs. 259 and 260.) The Court,

however, found that neither party breached the Agreement. (Doc. 246.)

       4.        Thus, if the Court interpreted Section 33 to require a breach of the

Agreement, and where the Court found no breach by either party, then it appears the

Court under such rationale exercised its discretion as allowed by federal law to award

prejudgment interest at the rate 7.5 percent per annum in order to compensate ND

fairly for the loss of use of its funds.




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      5.     If the Court grants either of ND’s post-judgment motions to find that

TVA breached the Agreement, then the Court may want to invite the parties to brief

at a later date whether prejudgment interest at 6 percent or 7.5 percent per annum is

more appropriate, but only if there is such a finding by the Court that TVA breached

and the Court awards damages or other monetary relief as requested by ND.

Otherwise, the award of 7.5 percent per annum prejudgment interest was within the

Court’s discretion and appropriate.

      Respectfully submitted on this 1st day of October, 2021.


                                /s/ Caine O’Rear III
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                        CERTIFICATE OF SERVICE

      I do hereby certify that, on October 1, 2021, I filed the foregoing pleading
with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the following:

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                                     /s/ Caine O’Rear III




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